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Case 1:16-cr-20355-CMA' Document 3 Entered on FLSD Docket 05/18/2016
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                                UNITED STATES DISTRICT COURT                        VzkAt 1 -
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                                                                    )CICII                                lO'SULLIVAN
 U NITED STA TES O F A M E RIC A

 VS.

 JOE L AR M A ND O G AL EA S R O D RIGU EZ ,
       a/k/a éçloelU IIoa,M
                      D efendant.
                                                       /

                                          IND IC TM EN T

         The Grand Jury chargesthat:

         Beginning atleastasearly asin and around 2007,and through the date ofthis Indictm ent,

 the defendant,

                          JO EL A R M A N DO G A LEA S RO D R IG U EZ,
                                       a/k/a RloelU Iloa,''

 did know ingly and w illfully com bine,conspire,confederate and agree w ith otherpersonsknown

 and unknow n to the Grand Jury,to distribute a controlled substance ih Schedule l1,know ing that

  such controlled substance w ould be unlaw fully im ported into the United States,in violation of

 Title2l,Uliited StatesCode,Section 959(a)(2)'
                                             ,a1linviolation ofTitle21,United StatesCode,
  Section 963.

         W ith respect to JO EL A R M A ND O G AL EA S R O D R IG U EZ,a/k/a içloel Ulloa,''the

  controlled substance involved in the conspiracy attlibutable to him as a resultofhisow n conduct,

  andtheconductofotherconspiratorsreasonablyforeseeabletohim ,isfive(5)kilogramsormore
  of a m ixture and substance containing a detectable am ountof cocaine,in violation of Title 21,

  UnitedStatesCode,Sections963and960(b)(1)(A).
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                                FO R FEITU RE A LLE G A TIO N S

                The allegationsofthis lndictm entare re-alleged and incorporated herein forthe

 pulpose ofalleging crim inalforfeiture to the U nited StatesofA m erica ofcertain property in w hich

 the defendant,JO EL AR M A N DO G A LEA S RO DR IG U EZ,a/k/a RloelU IIoa,''hasan

 interest.

        2.      U pon conviction of a violation of Title 21,United States Code,Section 963,as

 alleged in this lndictm ent,the defendantshallforfeitto the U nited StatesofAm erica,pursuantto

 Title21,United StatesCode,Sections853(a)(l)-(2),any property constituting,orderived from,
 any proceedsthe defendantobtained,directly orindirectly,asthe resultofsuch violation,and any

 property which the defendantused,orintended to be used,in any m annerorpart,to com m it,orto

 facilitate the com m ission of,such violation.

        A 11pursuantto Title 2 1,United States Code,Section 8 --

                                                      A TR lTF IW TF




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 W 1 REDO A .FERRER
 UN ITED STATES A TTO RN EY



 M ONIQUE BOTERO
 A SSISTA N T UN ITED STA TES ATTO RN EY
Case 1:16-cr-20355-CMA Document 3 Entered on FLSD Docket 05/18/2016 Page 3 of 4
                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

UNITED STATES O F AM ERICA                     CASE NO .
VS.
JOELARMAsDo oAuEAs RoonlouEz,                  CERTIFICATE OF TRIA L ATTO RNEY*
  alva ''
        JoelUIIoa,''
                   Defendant.
                                       /       Superseding Case Inform ation:


CourtDivision:(selectone)                      New Defendantts)
                                               N                                   Yes         No
                                                um berofNew Defendants
                                               Totalnum berofcounts
 X Mi
   FTaumi                K
                         we)sWest      FTp
       Ido hereby certify that:
                Ihavecarefullyconsideredthe allegationsqfthe indictmçnt,the number(?fdefendants,the numberof
                Probable witnessesandthe Iegalcom plexitles ofthe Indlctm ent/lnform atlonattached hereto.
                Iam Mware thatthe information supplied gn thij jtaterpentwillbe relied upon by the Judges ofthis
                CoudInsettingtheirgalendarsandschedullngcrlmlnaltrlalsunderthemandateoftheSpeedyTrialAct,
                Ti
                 tle 28 U.S.C.Sectl
                                  on 3161.
                Interpreter:      (YesorNo)      Yes
                ListIanguage and/ordi
                                    alect               Spani
                                                            sh
                This case willtake      7-10   days forthe padies to try.
                Please checkappropriate category and type ofoffense Iisted below:
                (Checkonlyone)                                   (Checkonlyone)
       I        0 to 5days                                                 Petty
       II       6 to 10 days                                               M inor
       lII      11 to 20 days                                              M isdem .
       IV       21 to 60 days                                              Felony         X
       V        61 days and over
       6.       HasthiscasebeenpreviouslyfiledinthisDi
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       lfyes:
       Judge:                                          Case No.
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         asacompl
                      disposi
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                     ntbeenfil
                              egrdej
                             edlnthlsmatter?           (YesorNo)              NO
       lfyej:
       M agl
           strate Case No.
       Related Miscçllaneous numbers:
       Defendantts)lnfederalcustodyasof
       Defendantts)In state custody asof
       Rule 20from the                                 Districtof
       Isthisapotentialdeathpenaltycase? (YesorNo)               MN -

                Doesthiscaseoriginatefrom a matterpendinginthe NorthernRegi
                                                                          onoftheU.S.Attorney'
                                                                                             sOfficeprior
                to October14,20'03?          Yes        Y No

       8.       Doesthiscaseoriginatefrom am atterpending inthe CentralRegionofthe U .S.Attorney'sOffice prior
                to Septem ber1,2007?        Yes        Y No




                                                       MONIQUE BOTERO
                                                                          tto
                                                       ASSISTANT UNITED STATES ATTO RNEY
                                                       Florida BarNo./courtNo.722286

*penal
     tySheetts)attached                                                                               REV10/2013
Case 1:16-cr-20355-CMA Document 3 Entered on FLSD Docket 05/18/2016 Page 4 of 4



                          UN ITED STA TES D ISTR ICT C O U R T
                          SO U TH E RN DISTR ICT O F FLO RID A

                                      PEN A LTY SH EET

 Defendant'sName:JO EL ARM ANDO GALEAS RO DRIGUEZ
 C ase N o:

 Count#:l

 Conspiracyto distdbutemorethan fivekilogram sofcoeaineknowina itwouldbeimported into

 the United States               -




 Title 21,United States Code.Section 963

 *M ax.Penalty: Life lm prisonm çpt




 *Refersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
 specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
